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FILED

UNITED STATES DISTRICT CoURT APR 3 0 2013
FOR THE DISTRICT OF COLUMBIA C,e,k’ U_S_ mgmt & Bankmpwy
Courts for the D|strict of Co|umb|a
UNITED STATES OF AMERICA, : CRIMINAL NO.
VIOLATIONS:
v. : (18 U.S.C. 1752(a)(1)
' (Entering or Remaining in Restricted
Building or Grounds)

DOMENIC LAURENCE MICHELI,

Case: 1:18-cr-00115

Assigned To : Friedman, Pau| L.

Assign. Date : 4/30/2018

Description: |NFORMAT|ON (A) INF()RMATI()N

The United States Attorney charges:

COUNT ONE

On or about April 27, 2018, in the DiStrict of Colurnbia, the defendant, DOMENIC
LAURENCE MICHELI, did knowingly enter and remain in a restricted building and grounds,
that is, the White House Complex and Grounds, Without lawful authority to do So.

(Entering or Remaining in Restricted Building or Grounds, in violation of Title 18, United
States Code, Section l752(a)(l))

JESSIE K. LIU
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